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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF
                                    OKLAHOMA


  UNITED STATES OF AMERICA,

         Plaintiff,
                       v.
                                                          Case No. 6:20-cv-00423-JFH
  JEFFREY LOWE,

  LAUREN LOWE,

  GREATER WYNNEWOOD EXOTIC ANIMAL
  PARK, LLC, and

  TIGER KING, LLC,

         Defendants.



 UNITED STATES’ NOTICE OF DEFENDANTS’ CONTINUED NONCOMPLIANCE

       The United States hereby provides notice that Defendants have not complied with the

Court’s September 16, 2021 order to provide all required documents to the United States within

one business day of notification and remain out of compliance with the Court’s previous orders.

       On January 15, 2020, this Court granted a preliminary injunction to the United States

which, among other things, required Defendants to provide the United States with certain

records. Dkt. 65. As relevant here, Defendants were required to provide to the United States (1)

acquisition and disposition records for all animals added to or missing from their inventories

since June 22, 2020; (2) acquisition and disposition records within seven days of any change to

the December 16, 2020 inventory, including the birth or death of any animal; and (3) complete

and accurate veterinary records within seven days of any animal being treated by a veterinarian.

See Dkt. 65 at 33-34. After Defendants’ failure to comply with these and other provisions of the

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Court’s order, the Court issued a subsequent order enforcing these requirements on March 22,

2021. Dkt. 78. Defendants still did not come into compliance and continued to violate

additional terms of the Court’s orders as detailed in three previous notices of noncompliance

filed by the United States. See Dkt. 83, 93, 106. At a May 12, 2021 show cause hearing and in

the Court’s subsequent order, the Court found Defendants in civil contempt for failing to comply

with the Court’s previous orders and imposed sanctions. Dkt. 97.

       On September 16, 2021, the Court held a second show cause hearing. At the September

16 hearing and in a subsequent order, the Court directed the United States to provide Defendants

with a list of outstanding documents Defendants are required to provide the United States

pursuant to the Court’s previous orders. Dkt. 133. The Court also ordered Defendants to

provide the outstanding documents to the United States within one business day of receiving the

United States’ notification. Dkt. 133. On September 16, 2021, the United States provided via

email to Mr. and Mrs. Lowe a list of the outstanding documents as well as a description of the

regulatory requirements for a valid acquisition or disposition record. See Ex. 1 (Sept. 16, 2021

Email from Hollingsworth to Lowes).

       On September 16, 17, and 18, 2021, Defendants provided many, but not all, of the

required records to the United States. Most of the records sent by Defendants were veterinary

records, some of which they had previously sent to counsel for the United States, others which

they had not previously provided. 1 Because the United States cannot prove otherwise, the

United States presumes that the provided records constitute all veterinary records since the

Court’s January 15, 2021 order for purposes of these contempt proceedings. For the remaining




1The newly provided records were not provided within seven days of an animal being treated.
The most recent veterinary record provided was from May 27, 2021.
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categories of documents, the chart below demonstrates what the United States requested (in the

exact language of the email) and what the Lowes provided on September 16-18.

 Documents requested in the United States’           Documents provided by the Lowes
        email notification (Ex. 1)                    following the email notification

    1. List every cub and the parents for the        •   One email listing cub names and

        litters born on:                                 parents for the August 21, 2020,

            a. August 21, 2020                           September 5, 2020, and November 28,

            b. September 5, 2020                         2020 litters. See Ex. 2 (Sept. 18, 2021

            c. Litter sent to Tiger Haven                Email from Lauren Lowe).

                around December 13, 2020             •   No list of names and parents and no

            d. November 28, 2020                         acquisition record was provided for

                                                         the litter that was transferred to Tiger

                                                         Haven in December.

    2. Disposition records from any cub              •   One disposition record showing four

        listed above that is not in the United           tigers given to Tiger Haven on

        States’ possession.                              December 13, 2020. Does not identify

                                                         cub names, dates of birth, or parents

                                                         for three of the cubs. See Ex. 3

                                                         (Disposition Form dated Dec. 13,

                                                         2020).

                                                     •   Assuming the accuracy of the list of

                                                         cubs identified in #1, the Lowes have

                                                         now provided disposition records for



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                                                     all of these cubs which are not in the

                                                     United States’ possession.

3. If any other animals were born                •   One chart listing births of three lemurs

   between June 2020—present, please                 and two raccoons in March and April

   also provide the names of the animals,            2021 (previously provided to the

   their parents and disposition records.            United States, see Dkt. 95-2). See Ex.

                                                     4 (Mar. & Apr. 2021 Animal Birth

                                                     Form).

                                                 •   No other animal births identified.

4. Wolves – acquisition record for the           •   One acquisition form for three wolves

   additional 3 wolves. The June 2020                given to Joe Maldonado on June 2,

   inspection report lists 12 total, see             2018. See Ex. 5 at 2 (Assorted

   Report attached [to Exhibit 1], as does           Acquisition & Disposition Forms).

   the inventory that your facility              •   One acquisition form for 12 wolves

   provided, see attached inventory [to              given from Joe Maldonado to Jeff

   Exhibit 1]. Thus, at some point                   Lowe on September 26, 2018. See Ex.

   between June 2020 and December                    5 at 3.

   2020, three wolves were added to the          •   One email stating that “Three wolves
   inventory.                                        were not on Jeff Lowe‘s inventory.

                                                     They had no names and were off

                                                     exhibit. They were rehomed to Pat

                                                     Craig. In separate email it shows




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                                                          where those three wolves came in to

                                                          Joe back in 2018.” See Ex. 2. 2

     5. Disposition records:                          •   (a), (b) – disposition records for red

            a. Red fox                                    fox and bush baby provided. See Ex.

            b. Bush baby                                  5 at 9.

            c. Alpaca, sheep and goat                 •   (c) – legally deficient “disposition

            d. Sloth                                      record” for the alpaca, three sheep,

            e. Raccoons                                   and goat, identifying that they were

            f. DeBrazza’s monkey (please                  donated to “local farmers,” which is

                account for this animal)                  deficient because it does not include

            g. 1 hooded skunk                             the identifying information for the

            h. 2 striped skunks                           recipient(s) or the date of transfer as

                                                          required by 9 C.F.R. § 2.75(b)(1). See

                                                          Ex. 5 at 8. 3



2 It appears that the Lowes are claiming that there were three wolves not formally transferred
from Joe Maldonado to Jeff Lowe, not placed on any inventories, not intended for exhibition,
and not housed at the facility where USDA could inspect them. This seems implausible, but for
purposes of contempt, the United States will not pursue further documentation on the wolves at
this time.
3 Defendants claim that they are not required to produce records for the alpaca, sheep, and goat,

because they are farm animals not covered by the AWA. However, the Court’s January 15, 2021
order requires Defendants to provide acquisition or disposition records to the United States for
“any change to the December 16, 2020 animal inventory.” Dkt. 65 at 34. The alpaca, sheep, and
goat were listed on Defendants’ December 2020 inventory, see Dkt. 28-35 at 13, which
according to the parties’ Stipulation was required to list “all animals covered by the AWA,
excluding common dogs, cats, guinea pigs, hamsters, or rabbits in Defendants’ possession,
custody or control as of November 25, 2020,” see Dkt. 23 at 1 (emphasis added). Moreover, the
definition of “animal” under the AWA includes any “warm-blooded animal[s]” that “the
Secretary may determine is being used, or is intended for use, for research, testing,
experimentation, or exhibition purposes, or as a pet,” but does not include “farm animals, such
as, but not limited to livestock or poultry, used or intended for use as food or fiber.” 7 U.S.C. §
                                                 5
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            i.   6 Big cats transferred to Tiger       •   (d) – “disposition record” for the sloth

                 Haven (we have an acquisition             dated Aug. 27, 2020. See Ex. 6

                 record for 3).                            (Disposition Form dated Aug. 27,

                                                           2020). While on its face it appears

                                                           complete, we have reason to believe

                                                           “Christine Jane” is not the full legal

                                                           name of the recipient of the sloth. 9

                                                           C.F.R. § 2.75(b)(1) requires the full

                                                           name.

                                                       •   (e) – disposition records for raccoons

                                                           provided, but does not include the

                                                           number of raccoons that escaped. See

                                                           Ex. 5 at 9.

                                                       •   (f) - DeBrazza’s monkey disposition

                                                           record dated February 9, 2019. See

                                                           Ex. 5 at 11. 4




2132(g); see also 9 C.F.R. § 1.1. Whether the alpaca, sheep, and goat are covered by the AWA
is therefore dependent not solely upon the type of species but whether the animals were intended
for exhibition or for “food or fiber.” In addition to listing them on the December 2020 inventory,
the Lowes have listed these animals as located in the “petting area” of the zoo in their past
inventories, which further indicates it was intended for exhibition. See, e.g., Dkt. 28-27 at 5.
4 Although this record says that the DeBrazza’s monkey was returned to Tim Stark on February

9, 2019, Mr. Stark filed a petition in state court in November 2019 seeking the return of a
DeBrazza’s monkey. See Exhibit 7 (Tim Stark Petition). If Mr. Stark’s claim are correct, then
the Lowes must provide an accurate disposition record for the DeBrazza’s monkey.
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                                                •   (g) – email claiming that the hooded

                                                    skunk passed away in early 2020. See

                                                    Ex. 2.

                                                •   (h) – legally deficient “disposition

                                                    record” for two skunks (no species

                                                    identified) dated October 1, 2020,

                                                    missing the recipient’s address. See

                                                    Ex. 5 at 10.

                                                •   (i) – no record sent regarding transfer

                                                    of six Big Cats to Tiger Haven on or

                                                    around August 17, 2020. However,

                                                    counsel for the United States believes

                                                    we have now located the disposition

                                                    records for these cats in documents

                                                    provided to USDA by Tiger Haven.

6. Missing records identified in the July       •   One disposition record showing Tiger

   2020 inspection report, attached [to             named “Mudcat” sent to Tiger Haven

   Exhibit 1]                                       on February 27, 2021. Ex. 5 at 4.

                                                •   Email stating that “Filet” was also sent

                                                    to Tiger Haven on February 27, 2021,

                                                    but mistakenly did not appear on the

                                                    disposition form. Ex. 2. No




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                                                          disposition record provided to

                                                          document this transfer.

                                                      •   Email stating that “Rheque” and

                                                          “Amarouk” had their names changed

                                                          to “Mudcat” and “Medusa”. Ex. 2.

                                                      •   Email stating that “Tess”, “Jughead”,

                                                          and “Lizzy” passed away in August

                                                          2019, March 2020, and September

                                                          2019, respectively. Ex. 2.

     7. Mia the tiger, there is a disposition         •   Email stating that “Mia has always

        record from February 2020, but then               been on the inventory. She never left.”

        she again appears on the December                 Ex. 2. However, the Lowes also

        2020 inventory—missing acquisition                provided a disposition record showing

        record                                            Mia was sent to Tiger Haven on

                                                          February 27, 2020. See Ex. 5 at 4. If

                                                          that is not correct, the Lowes must

                                                          submit an accurate disposition record.

                                                          If Mia was sent to Tiger Haven but

                                                          later returned, the Lowes must provide

                                                          an acquisition record.



       The Lowes expressed via email on September 18, 2021 that it was “taking a little longer”

to locate and provide the records, but that they were working on it. See Ex. 8 (Sept. 18, 2021


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Email from Jeffrey Lowe). As such, the United States waited over a week after the Court’s

deadline to see if additional records would be sent. None have been.

       Some of Defendants’ explanations are questionable or implausible; however, for

purposes of contempt, the United States is willing to accept some of these explanations at this

time. The United States does not concede the truth of Defendants’ assertions and reserves the

right to contest or explore these issues further if the case proceeds to discovery and/or

adjudication on the merits. The list of documents which are clearly deficient or still missing is

now as follows:

       •   Acquisition record for the three cubs sent to Tiger Haven on December 13, 2020.

       •   Accurate and complete disposition record for the sheep, alpaca, and goat.

       •   Accurate and complete disposition record for the sloth (or an attestation that the name

           on the disposition form is the recipient’s full legal name).

       •   Accurate and complete disposition record for the two skunks.

       •   Disposition record for “Filet”.

       •   Accurate and complete disposition and/or acquisition records for “Mia”.

        Because a number of acquisition and disposition records still have not been provided,

Defendants remain out of compliance with this Court’s orders.



DATED: September 30, 2021                      Respectfully Submitted,

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                                               Assistant Attorney General
                                               Environment and Natural Resources Division


                                               /s/ Devon Lea Flanagan
                                               DEVON LEA FLANAGAN
                                               Trial Attorney

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